                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


LEAGUE OF WOMEN VOTERS,                    )
LEAGUE OF WOMEN VOTERS                     )
TENNESSEE EDUCATION FUND,                  )
AMERICAN MUSLIM ADVISORY                   )
COUNCIL, MID-SOUTH PEACE &                 )
JUSTICE CENTER, ROCK THE VOTE,             )
MEMPHIS CENTRAL LABOR                      )
COUNCIL, and HEADCOUNT,                    )
                                           )
Plaintiffs,                                )
                                           )
v.                                         )                Case No. 3:19-cv-00385
                                           )                Judge Aleta A. Trauger
TRE HARGETT, in his official capacity      )
as Secretary of State of Tennessee,        )
MARK GOINS, in his official capacity       )
as Coordinator of Elections for the State  )
of Tennessee, the STATE ELECTION           )
COMMISSION, and DONNA BARRETT, )
JUDY BLACKBURN, GREG DUCKETT, )
MIKE MCDONALD, JIMMY WALLACE, )
TOM WHEELER, and KENT YOUNCE,              )
in their official capacities as members of )
the State Election Commission,             )
                                           )
Defendants.                                )

                                      MEMORANDUM

       The plaintiffs have filed a Motion for Preliminary Injunction (Docket No. 54), to which

the defendants have filed a Response (Docket No. 59). For the reasons set out herein, that motion

will be granted.

                    I. BACKGROUND AND PROCEDURAL HISTORY

A. Voting in Tennessee

        A more detailed discussion of the procedural history of this case and the legal context of

the underlying enactment can be found in the court’s Memorandum of September 9, 2019.



   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 1 of 45 PageID #: 627
(Docket No. 57.) In short, “[o]nly qualified voters who are registered . . . may vote at elections in

Tennessee,” Tenn. Code Ann. § 2-1-105, and the only way to be registered is if one “applies to

register.” Tenn. Code Ann. § 2-2-104(1). A voter registration application can be completed in

person at various government offices, online, or by mail. See Tenn. Code Ann. §§ 2-2-108(a)(1),

2-2-111(a), 2-2-112, 2-2-115(a), 2-2-201, 2-2-202. Unless a prospective voter applies to register

at least thirty days before an election day, the voter will not appear on the voter rolls for that

election. Tenn. Code Ann. § 2-2-109(a).

       A number of organizations and individuals, recognizing that a lack of registration is the

only legal obstacle preventing many Tennesseans from voting, engage in activities intended to

assist unregistered qualified voters in filing registration applications. Some of those efforts are

small and informal, between friends, family, neighbors, and coworkers. Other efforts to assist in

voter registration are larger and directed at the broader public, such as the operation of voter

registration desks at schools, community centers, concerts, and other locations frequented by

unregistered prospective voters. These efforts historically have involved collecting paper

registration forms, although modern technology also allows organizations to assist voters in

registering electronically.

       On April 29, 2019, the Tennessee General Assembly passed a new law governing, among

other things not at issue in this case, “voter registration drives” and “public communication[s]

regarding voter registration status.” ELECTION OFFENSES, 2019 Tenn. Laws Pub. ch. 250

(H.B. 1079) (hereinafter, the “Act”). On May 2, 2019, Governor Bill Lee signed the Act into

law, and its provisions are slated to “take effect” on October 1, 2019. 2019 Tenn. Laws Pub. ch.

250, § 9. On May 9, 2019, most of the current plaintiffs—along with one organization that is no

longer associated with the case—filed a Complaint in this court challenging the constitutionality



                                                 2

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 2 of 45 PageID #: 628
of several portions of the Act under 42 U.S.C. § 1983. (Docket No. 1.) On June 21, 2019, the

plaintiffs filed an Amended Complaint that expanded on the plaintiffs’ allegations and included

all of the parties currently in the case. (Docket No. 37.) The defendants then moved the court to

dismiss the plaintiffs’ claims based on either a lack of jurisdiction or a failure by the plaintiffs to

articulate plausible challenges to the Act’s constitutionality. (Docket No. 39.) The court denied

that motion, concluding that, for the purposes of the Motion to Dismiss, (1) the plaintiffs had

standing to bring their claims, (2) the plaintiffs’ claims were ripe, and (3) the plaintiffs had

articulated a plausible basis for their claims. (Docket No. 57.) The plaintiffs seek a preliminary

injunction enjoining some of the Act’s provisions. The defendants have opposed the motion.

B. Relevant Provisions of the Act 1

        1. Pre-Drive Registration and Training Requirements

        The Act requires prior registration, with the state’s Coordinator of Elections, by private

organizations and individuals planning a voter registration drive in which the party will

“attempt[] to collect voter registration applications of one hundred (100) or more people.” Tenn.

Code Ann. § 2-2-142(a). 2 “Voter registration drive” is not defined. As part of that pre-drive

registration, the registrant must complete government-provided training and ensure that all of its

voter registration workers also complete that training. Tenn. Code Ann. § 2-2-142(a)(1)(C), (E).

The Coordinator of Elections is forbidden from charging a fee for the government-administered

training and is required to “offer the training online.” Tenn. Code Ann. § 2-2-142(e). The pre-


1
  Several key provisions of the Act contain ambiguities that, the plaintiffs argue, run afoul of the
Fourteenth Amendment’s protection against unconstitutionally vague statutes under the Due Process
Clause. For ease of discussion, the court’s summary of the Act’s provisions may ignore a few ambiguities
for the sake of providing a general picture of the structure of the Act.
2
  For ease of reading, the court will cite the Act using the section designations that it will have when
included in the Tennessee Code Annotated.


                                                   3

    Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 3 of 45 PageID #: 629
registration must be accompanied by a “sworn statement stating that the person or organization

shall obey all state laws and procedures regarding the registration of voters.” Tenn. Code Ann. §

2-2-142(a)(1)(D).

       These requirements include an exception for “individuals who are not paid to collect

voter registration applications or . . . organizations that are not paid to collect voter registration

applications and that use only unpaid volunteers to collect voter registration applications.” Tenn.

Code Ann. § 2-2-142(g). An organization is also excepted if it has been “designated” by the

county election commission as the county designee for the purposes of operating certain county-

supervised voter registration activities. Tenn. Code Ann. § 2-2-142(a).

       Violation of any of these requirements, if done “intentionally or knowingly,” is a Class A

misdemeanor, and “each violation constitutes a separate offense.” Tenn. Code Ann. § 2-2-142(f).

       2. Mandatory 10-Day Turn-In and Civil Penalties for Incomplete Forms

       The Act requires any person or organization that performs a voter registration drive for

which registration was required to “deliver or mail completed voter registration forms within ten

(10) days of the date of the voter registration drive; provided[] that if the date of the voter

registration drive is within ten (10) days of the voter registration deadline, the completed forms

must be delivered or mailed no later than the voter registration deadline.” Tenn. Code Ann. § 2-

2-142(a)(2). The only exception within the text of the Act is that “[a] person or organization who

collects an application that only contains a name or initial is not required to file the application

with the election commission.” Tenn. Code Ann. § 2-2-143(b). A knowing or intentional

violation of this provision is a Class A misdemeanor, with “each violation constitut[ing] a

separate offense.” Tenn. Code Ann. § 2-2-142(f).




                                                  4

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 4 of 45 PageID #: 630
       The plaintiffs do not dispute that they should turn in any voter registration forms they

receive that represent a good-faith effort to register to vote. To the contrary, as they note in their

Amended Complaint, it is arguably already their duty to do so under Tenn. Code Ann. § 2-19-

103, which makes it a crime to knowingly interfere in a person’s rights under the state’s election

laws. (Docket No. 37 ¶ 186.) The plaintiffs take issue, however, with the inflexibility of the 10-

day rule and with the turn-in requirement’s relationship to another of the Act’s key provisions—

its system of civil penalties related to the submission of “incomplete” voter registration

applications. Pursuant to Tenn. Code Ann. § 2-2-143(a), “any person or organization” that

“conducts voter registration drives under” the registration scheme is subject to a civil penalty if

the person or organization, “within a calendar year, files one hundred (100) or more incomplete

voter registration applications.” The Act defines “incomplete voter registration application” as

“any application that lacks the applicant’s name, residential address, date of birth, declaration of

eligibility, or signature.” Tenn. Code Ann. § 2-2-143(b). This provision does not include a

requirement that the violation be knowing or intentional.

       County election commissions are required to “file notice with the state election

commission, along with a copy of each voter registration application deemed to be incomplete

and identifying information about the person or organization that filed the incomplete

applications.” Tenn. Code Ann. § 2-2-143(c)(2). The state election commission then “shall make

a finding on the number of incomplete forms filed” and “may impose civil penalties for Class 1

and Class 2 offenses.” Tenn. Code Ann. § 2-2-143(c)(3). “‘Class 1 offense’ means the filing of

one hundred (100) to five hundred (500) incomplete voter registration applications,” and such an

offense is “punishable by a civil penalty of one hundred fifty dollars ($150), up to a maximum of

two thousand dollars ($2,000), in each county where the violation occurred.” Tenn. Code Ann. §



                                                  5

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 5 of 45 PageID #: 631
2-2-143(c)(4)(A). “‘Class 2 offense’ means the filing of more than five hundred (500)

incomplete voter registration applications,” and such an offense is “punishable by a civil penalty

of not more than ten thousand dollars ($10,000) in each county where the violation occurred.”

Tenn. Code Ann. § 2-2-143(c)(4)(B).

       3. Consent Requirement for Retention of Voter Information

       The Act prohibits anyone operating a voter registration drive from “copying,

photographing, or in any way retaining the voter information and data collected on the voter

registration application, unless the applicant consents.” Tenn. Code Ann. § 2-2-142(b). The Act

does not specify whether the consent must be in writing. A knowing or intentional violation is a

Class A misdemeanor, with “each violation constitut[ing] a separate offense.” Tenn. Code Ann.

§ 2-2-142(f).

       4. Mandatory Disclaimers for Communications “Regarding Voter Registration Status”

       Pursuant to Tenn. Code Ann. § 2-2-145(a)(1), any “public communication regarding

voter registration status made by a political committee or organization must display a disclaimer

that such communication is not made in conjunction with or authorized by the secretary of state.”

Id. “The disclaimer must be clear and conspicuous and prominently placed. A disclaimer is not

clear and conspicuous if it is difficult to read or hear, or if its placement can be easily

overlooked.” Tenn. Code Ann. § 2-2-145(d). If a “person or organization . . . establishes a

website for voter registration purposes,” it must display such a disclaimer and, if the site

“captures or collects the voter’s information or data,” it must include an additional notice

“disclos[ing] on the website the person’s or organization’s name and the purpose for which the

voter information is captured or collected.” Tenn. Code Ann. § 2-2-145(b)(1)–(2). The same is

true for a website created to allow users to look up registration information. Tenn. Code Ann. §



                                                6

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 6 of 45 PageID #: 632
2-2-145(c)(1)–(2). “Any person who intentionally and knowingly violates” these provisions

“commits a Class A misdemeanor and each violation constitutes a separate offense.” Tenn. Code

Ann. § 2-2-145(e).

C. This Litigation

       1. The Plaintiffs

       The plaintiffs are all organizations involved in voter registration activities in Tennessee.

Although they employ different strategies and work with different populations, all have

expressed fear that it will be difficult or even impossible to continue their activities while

complying with the Act.

       a. League of Women Voters of Tennessee. The League of Women Voters of Tennessee

and the League of Women Voters of Tennessee Education Fund (collectively, the “League”) are

nonprofit organizations that “seek[] to empower voters and promote civic engagement through

informed and active participation in government.” (Docket No. 54-2 ¶¶ 6, 8.) The plaintiffs have

produced a Declaration by Marian Ott, the League’s current president and member for over 35

years. (Id. ¶¶ 5, 7.) The League has operated in Tennessee since 1920. Its annual budget for the

last fiscal year was about $36,000, although local chapters of the League have also had their own

budgets, the largest of which has recently been about $35,000 a year. (Id. ¶¶ 12, 14–15.) In 2018,

the League’s chapters conducted approximately 122 voter registration events, for which they

relied on about 277 volunteers, resulting in the submission of nearly 3,000 voter registration

applications. The League’s work has continued in 2019 and has included voter registration

events at utilities offices, YMCA locations, universities, and naturalization ceremonies. (Id. ¶¶

16–17, 20.) The League’s voter registration activities are regularly funded by grants. (Id. ¶ 23.)




                                                 7

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 7 of 45 PageID #: 633
       According to Ott, bringing the League’s activities into compliance with the Act will

require “significant staff, volunteer, and leadership resources,” of which she provides several

examples (Id. ¶¶ 27, 50, 52, 55.) Ott also expresses concern that the Act’s prior registration

requirement will be difficult to comply with and will prevent the League’s chapters from holding

impromptu voter registration events. (Id. ¶ 29.) Ott suggests, moreover, that the requirement that

volunteers undergo prior government training will hamper the organization’s ability to draw on

its volunteer base, many of whom do not make the final decision to volunteer until the day of an

event. (Id. ¶¶ 33–34.)

       As Ott explains, participation in voter registration drives is central to the League’s

mission and its recruitment of new members. Ott believes, however, that a risk of criminal

prosecution will have a significant chilling effect on potential volunteers’ willingness to

participate in drives. (Id. ¶ 40.) According to Ott, it is also very likely that the League’s voter

registration drives will produce some incomplete applications, regardless of the League’s efforts

to make sure that all applications are completed correctly. The Act’s system of civil penalties,

therefore, threatens to create liabilities for the League. (Id. ¶¶ 46–47. 57.) Ultimately, according

to Ott, the League has been forced to consider placing a moratorium on its voter registration

activities in response to the Act. Even if it does not go as far as a full moratorium, the League

will, according to Ott, be “likely to significantly scale back the volume of voter registration

drives” it performs. (Id. ¶¶ 58–59.)

       Ott explains that the League also routinely engages in communications with the public

about voter registration that would likely be subject to the Act’s disclaimer requirements. (Id. ¶

63.) The League will have to expend resources revising its materials to include the required

disclaimers. (Id. ¶ 65.) In particular, the League was planning to implement a 2020 text



                                                 8

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 8 of 45 PageID #: 634
messaging campaign to communicate with potential voters about voter registration. That

campaign, however, would be made infeasible or, at the very least, more expensive by the

disclaimer requirement. Accordingly, if the Act is not enjoined, the League will abandon its text-

messaging plans. (Id. ¶ 70.) The disclaimer requirements also pose technical and practical

challenges to the operation of the League’s voter registration and education website,

VOTE411.org. (Id. ¶ 71.) Moreover, Ott explains, even if it is somehow able to comply with the

disclaimer requirements for all of its potentially covered communications, the League is

concerned that the disclaimers will reduce the effectiveness of its communications by making the

League’s efforts seem unauthorized and illegitimate, despite its century of service as a reputable

organization assisting in voter registration. (Id. ¶ 73)

       Finally, Ott explains, the League, prior to the Act, was planning to retain information

obtained in future voter registration drives in order to conduct follow-up communications to

provide election information and encourage voting. Because of the Act and, in particular, the

difficulty of both complying with and documenting compliance with its consent requirement for

the retention of voter information, the League has placed this plan on “indefinite hold.” (Id. ¶¶

66–67.)

       b. Memphis Central Labor Council. The Memphis Central Labor Council (“MCLC”) is

a Memphis-based labor council of the American Federation of Labor and Congress of Industrial

Organizations, commonly referred to as the “AFL-CIO.” It acts as the umbrella organization for

44 west Tennessee-based affiliate unions, including the local affiliate of the International

Brotherhood of Electrical Workers and the local affiliate of the American Federation of State,

County and Municipal Employees. All in all, MCLC and its affiliated unions have about 16,000

union members. (Docket No. 54-5 ¶ 2.) The plaintiffs have provided a Declaration by MCLC



                                                   9

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 9 of 45 PageID #: 635
Executive Secretary Jeffrey Lichtenstein. (Id.) According to Lichtenstein, MCLC engages in

extensive canvassing, voter turnout, and voter registration activities, targeted, in particular, at

union members and their families, including members of MCLC’s unions and west Tennessee

members of other AFL-CIO-affiliated unions. According to data available to Lichtenstein, there

are approximately 40,000 union members or union household members in west Tennessee who

are eligible to vote but unregistered, about 10,000 of whom are members of MCLC unions. (Id.

¶¶ 3, 5.) MCLC uses paid field organizers for its voter registration and other canvassing. (Id. ¶

6.) It retains information that it collects while canvassing in order to build and update union

membership lists that it will eventually use to communicate with union members about voting

and related issues. (Id. ¶ 11.)

        Lichtenstein expresses the same concerns as Ott regarding the Act’s effect on MCLC’s

voter registration and communication activities. (Id. ¶¶ 12–22.) According to Lichtenstein, the

compliance burdens of the Act, the chilling effect on MCLC’s ability to hire organizers, and the

risk of civil fines and misdemeanor charges may render MCLC ultimately “unable to continue

conducting its door-to-door canvassing program in the manner it has used in the past.” (Id. ¶¶ 14,

20, 22.)

        c. American Muslim Advisory Council. The American Muslim Advisory Council

(“AMAC”) is a Nashville-based 501(c)(3) organization that “seeks to empower Muslims across

Tennessee through civic engagement and community building to protect all Tennesseans from

prejudice and targeted violence.” (Docket No. 54-3 ¶ 3.) The plaintiffs have provided a

Declaration by Sabina Mohyuddin, AMAC’s Middle Tennessee Program Manager. (Id. ¶ 2.)

According to Mohyuddin, “AMAC reached over 2,000 Muslim Tennesseans through voter

registration drives, get-out-the-vote events, meet-the-candidate forums, and outreach” in 2018.



                                                10

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 10 of 45 PageID #: 636
(Id. ¶ 5.) Those efforts included voter registration events at mosques in Nashville, Antioch,

Murfreesboro, Memphis, and Knoxville. (Id.) AMAC receives grants for its civic engagement

work, which it uses to pay voter registration workers. (Id. ¶ 6.) Its total budget for 2018 was

about $120,000, with about $1,000 allocated to voter registration activities. (Id. ¶ 8.) AMAC

shares the other plaintiffs’ concerns about the Act’s provisions regulating voter registration

activities and communications. (Id. ¶¶ 10–20.) According to Mohyuddin, the Act will force

AMAC to scale back its voter registration activities in order to lessen its risk of violating the

civil penalties provisions. (Id. ¶ 10.)

        d. Mid-South Peace and Justice Center. The Mid-South Peace and Justice Center

(“MSPJC”) is a “multi-issue, multi-race organization whose mission is to engage, organize, and

mobilize communities to realize social justice through nonviolent action.” (Docket No. 54-4 ¶ 8.)

The plaintiffs have provided a Declaration by MSPJC Organizing Coordinator Paul Garner. (Id.

¶ 7.) According to Garner, voter registration activities are an important part of MSPJC’s mission,

and it relies on both grants and volunteers to support its voter registration activities. (Id. ¶¶ 14,

17.) Garner states that MSPJC “aims to collect as many voter registration applications as

possible and endeavors to increase the number of eligible voters registered in Tennessee, namely

in the communities with [which] it works, to make sure that their voices and perspectives are

represented in the political process.” (Id. ¶ 20.) MSPJC has an annual budget of about $235,000,

much of which goes to salaries. It is, therefore, particularly concerned about the possibility of

civil fines. Garner states that “even one $2,000 fine would likely lead [MSPJC] to suspend all

voter registration activities.” (Id. ¶ 17.) MSPJC shares the other plaintiffs’ concerns regarding the

Act’s regulation of voter registration drives, communications, and retention of information, and




                                                 11

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 11 of 45 PageID #: 637
Garner expresses similar fears regarding the Act’s effects on MSPJC’s ongoing activities. (Id. ¶¶

21–50.)

       e. HeadCount. HeadCount is a New York City-based 501(c)(3) organization that works

with musicians and other media figures to promote participation in democracy. As part of its

efforts, HeadCount operates voter registration drives at concerts and music festivals nationwide.

(Docket No. 54-6 ¶ 4.) The plaintiffs have provided a Declaration by Tappan Vickery, who

started working with the group as a volunteer in 2004 and now serves as its Director of Voter

Engagement. (Id. ¶¶ 1–3.) Since 2004, HeadCount has assisted in the submission of over 600,000

voter registration applications through more than 6,000 in-person field events. In order to

execute these large-scale efforts, HeadCount has cultivated a network of about 20,000 volunteers

(Id. ¶ 6.) It receives grant money, direct donations, and sponsorships to fund its voter registration

activities, including in Tennessee, and it provides stipends to its volunteer team leaders. (Id. ¶¶ 8,

11.) Since 2014, HeadCount has helped over 3,000 Tennesseans register to vote. (Id. ¶ 9.)

       HeadCount shares the other plaintiffs’ concerns about the Act and its effects. (Id. ¶¶ 17–

87.) The need to revise materials specifically for compliance in Tennessee is a particular

challenge for HeadCount, given its nationwide scope. (Id. ¶ 20.) HeadCount notes that the Act’s

training requirement is also likely to be especially challenging for HeadCount, because many of

HeadCount’s volunteers come to its concert-based evening events after work and have minimal

time before voter registration work begins. (Id. ¶ 43.) HeadCount’s extensive digital and texting-

based activities also present particular challenges with regard to compliance with the disclaimer

requirements. (Id. ¶¶ 56–62.) According to Vickery, the Act may force HeadCount to “severely

reduce” its voter registration activities in Tennessee “or even end them, depending on the

circumstances.” (Id. ¶ 72.)



                                                 12

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 12 of 45 PageID #: 638
        f. Rock the Vote. Rock the Vote is a nationwide organization “dedicated to building

long-term youth political power.” (Docket No. 54-7 ¶ 2.) It challenges only the disclaimer

requirements. 3 The plaintiffs have provided a Declaration by Carolyn DeWitt, Rock the Vote’s

President and Executive Director. (Id.) DeWitt describes Rock the Vote’s extensive voter

registration-related activities across various media, including online portals for registration and

voter lookup. (Id. ¶¶ 5–6.) The extent of Rock the Vote’s digital efforts, which include partnering

with other organizations, means that Rock the Vote will, according to DeWitt, face especially

significant costs and technical challenges in altering their various tools to comply with the

disclaimer requirement. DeWitt details the particular technical challenges of revising, testing,

and finalizing altered Rock the Vote tools across multiple platforms that, although the court will

not repeat them all here, confirm the technical difficulties that Rock the Vote alleged in its

Amended Complaint. (Id. ¶¶ 12–13; see Docket No. 57 at 18 (summarizing Rock the Vote’s

allegations).)

        2. The Defendants

        The plaintiffs have named as defendants various Tennessee officials who will play roles

in administering the Act, each of whom is sued in his or her official capacity only. Tre Hargett is

the Tennessee Secretary of State. Under the Tennessee Constitution, the Secretary of State is

appointed by a joint vote of the General Assembly, whose members are elected. Tenn. Const. art.

III, § 17. The Secretary of State, in turn, appoints the state’s Coordinator of Elections, who

serves at the pleasure of the Secretary. Tenn. Code Ann. § 2-11-201(a). Defendant Mark Goins is

the Coordinator of Elections. The Coordinator “is the chief administrative election officer of the


3
 For ease of reading, the court will generally refer to the plaintiffs collectively as “the plaintiffs,” even
when discussing arguments or positions in which Rock the Vote has not taken part due to the limited
nature of its challenge.


                                                      13

    Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 13 of 45 PageID #: 639
state” and is charged with “obtain[ing] and maintain[ing] uniformity in the application, operation

and interpretation of the election code.” Tenn. Code Ann. § 2-11-201(b). Among the

Coordinator’s responsibilities under the Act is that he is the official who “administer[s]” the

mandatory government training, without which individuals cannot participate in a covered voter

registration drive, and he is the official with whom individuals and organizations must register.

Tenn. Code Ann. § 2-2-142(a)(1). Coordinator of Elections Goins has provided a Declaration

stating that he has not yet promulgated any regulations pursuant to the Act and cannot begin the

rulemaking process until October 1, after which the rulemaking process will take at least five

months. (Docket No. 59-1 ¶¶ 7, 9.) He also has not yet created an online training program as

required by the Act. (Id. ¶ 10.)

        Herbert H. Slatery III is the Attorney General and Reporter (hereinafter, “Attorney

General”) of Tennessee. Tennessee’s Attorney General is appointed by the judges 4 of its

Supreme Court, who are, under current law, appointed by the Governor and confirmed by the

General Assembly, after which the judges are subject to retention elections. Tenn. Const. art. VI,

§§ 3, 5. The Attorney General is empowered to request that the Coordinator conduct

investigations of alleged violations of the election code, including the Act. Tenn. Code Ann. § 2-

11-202(a)(5)(C).

        Donna Barrett, Judy Blackburn, Greg Duckett, Mike McDonald, Jimmy Wallace, Tom

Wheeler, and Kent Younce are the members of the State Election Commission. Members of the

Commission are elected by a joint resolution of both houses of the General Assembly. Tenn.

Code Ann. § 2-11-104(b). The Act adds a provision allowing the General Assembly to remove a

4
 The Tennessee Constitution refers to the members of the judiciary who sit on the Tennessee Supreme
Court, other than the Chief Justice, as “judges,” although the court takes judicial notice that they are all
commonly referred to as “justices.” The court has used the term “judge” merely to reflect the
constitutional text.


                                                    14

    Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 14 of 45 PageID #: 640
member for cause or if he or she becomes unqualified. 2019 Tenn. Laws Pub. ch. 250, § 8. Under

the Act, the Commission is the body to which incomplete registrations are reported and the body

that “may” impose fines based on the incomplete forms. Tenn. Code Ann. § 2-2-143(c). The

members of the Commission have provided Declarations stating that they do not intend to

enforce Tenn. Code Ann. § 2-2-143 or refer anyone for prosecution under Tenn. Code Ann. § 2-

2-142 until administrative rules are finalized under the Act. (E.g., Docket No. 59-2 ¶¶ 10–12;

accord Docket Nos. 59-3 to -7 ¶¶ 10–12, Docket No. 59-8 at 2–3.)

       3. The Plaintiffs’ Motion

       The plaintiffs ask the court to “enjoin the implementation of Tennessee Code Sections 2-

2-142, subsections (a)–(b) and (e)–(g), 2-2-143, and 2-19-145.” (Docket No. 54 at 1.) In other

words, the plaintiffs ask the court to enjoin the operation of (1) the pre-registration requirement,

including the requirement to file a sworn statement of compliance, (2) the prior government

training requirement, (3) the 10-day turn-in requirement, (4) the requirement for consent before

retaining voter information, (5) the system of civil penalties for turning in incomplete

applications, (6) all disclaimer requirements in the Act, and (7) the adoption of any

administrative rules and procedures intended to implement the aforementioned provisions.

                                    II. LEGAL STANDARD

       The Sixth Circuit has held that the district court must balance four factors when

considering a motion for preliminary injunction under Federal Rule of Civil Procedure 65: (1)

whether the movant has a strong likelihood of success on the merits; (2) whether the movant

would suffer irreparable injury without the injunction; (3) whether the issuance of the injunction

would cause substantial harm to others; and (4) whether the public interest would be served by

the issuance of the injunction. City of Pontiac Retired Emps. Ass’n v. Schimmel, 751 F.3d 427,



                                                15

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 15 of 45 PageID #: 641
430 (6th Cir. 2014) (citing PACCAR Inc. v. TeleScan Techs., LLC, 319 F.3d 243, 249 (6th Cir.

2003)).

                                        III. JURISDICTION

          The defendants renew their objections that the plaintiffs lack standing to bring their

claims and that the claims are not ripe for adjudication. The court addressed the appropriate legal

standard for evaluating these arguments at length in its Memorandum of September 9, 2019.

(Docket No. 57 at 27–35) and will not reiterate the entirety of that legal analysis here. Rather, the

court incorporates its prior legal conclusions by reference and will apply that analysis to the

factual record now before it.

A. Standing

          As the court previously concluded, the plaintiffs may establish that their claims are

premised on an actual or imminent injury-in-fact in several ways relevant to this case. First, they

may establish injury-in-fact based on the Act’s actual or imminent “costly, self-executing

compliance burdens.” Nat’l Rifle Ass’n of Am. v. Magaw, 132 F.3d 272, 279 (6th Cir. 1997)

(citation omitted); accord Hyman v. City of Louisville, 53 F. App’x 740, 743 (6th Cir. 2002); see

also ); see also Virginia v. Am. Booksellers Ass’n, Inc., 484 U.S. 383, 392 (1988) (finding

standing because “plaintiffs . . . , if their interpretation of the statute is correct, will have to take

significant and costly compliance measures or risk criminal prosecution”) (citing Craig v. Boren,

429 U.S. 190, 194 (1976); Doe v. Bolton, 410 U.S. 179, 188 (1973)); Ohio Coal Ass’n v. Perez,

192 F. Supp. 3d 882, 902 (S.D. Ohio 2016) (“[A]dditional compliance burdens may serve as an

injury in fact.”) (citing All. for Natural Health U.S. v. Sebelius, 775 F. Supp. 2d 114, 120–21

(D.D.C. 2011)). Second, the plaintiffs can establish standing based on the fact that, but for the

Act, they would behave in ways that the Act proscribes, and they, therefore, will imminently be



                                                   16

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 16 of 45 PageID #: 642
forced to alter their behavior in response to the Act. See Clements v. Fashing, 457 U.S. 957, 962

(1982) (finding standing where plaintiffs alleged that, “but for the . . . provision they seek to

challenge, they would engage in the very acts that would trigger the enforcement of the

provision”). Third, the plaintiffs can establish an injury-in-fact by establishing that the Act will

imminently “restrict[] the plaintiffs’ political activities within the state” and “limit[] their ability

to associate as political organizations.” Green Party of Tenn. v. Hargett, 767 F.3d 533, 544 (6th

Cir. 2014). The court held that, for the purposes of the facial challenge to jurisdiction raised in

the defendants’ Motion to Dismiss, the allegations in the plaintiffs’ Amended Complaint were

sufficient to establish standing in any of those three ways.

       Nothing about the evidence now before the court causes it to revise its conclusion with

regard to standing. The defendants now offer Declarations from the Coordinator of Election and

members of the State Election Commission to the effect that they have not yet issued any

regulations pursuant to the Act and do not intend to penalize anyone until those regulations are

issued, which will take several months. (See Docket Nos. 59-1 to -8.) The provisions of the Act,

however, are self-executing. They go into effect regardless of whether there has been any

rulemaking and regardless of what the defendants say in non-binding statements offered in the

context of trying to escape judicial review. As the Supreme Court has observed, First

Amendment caselaw recognizes “the danger in putting faith in government representations of

prosecutorial restraint” where protected speech is concerned. United States v. Stevens, 559 U.S.

460, 480 (2010). The courts, accordingly, will “not uphold an unconstitutional statute merely

because the Government promised to use it responsibly.” Id. (citing Whitman v. Am. Trucking

Ass’ns, Inc., 531 U.S. 457, 473 (2001)). The defendants, moreover, are not even the only parties

in charge of enforcing many of the Act’s provisions, so their promises are especially immaterial.



                                                  17

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 17 of 45 PageID #: 643
        Aside from that, an individual who wishes to engage in voter registration activities in

Tennessee will still need to take steps to be ready to comply whenever authorities do start

enforcing the Act. The need to prepare for the Act’s enforcement, whether in a month or six

months, is an actual injury sufficient to confer standing, just as the soon-to-take effect commands

of the Act remain an imminent injury sufficient to confer standing in their own right.

B. Ripeness

        As the Sixth Circuit has observed, “[t]he line between Article III standing and ripeness in

preenforcement First Amendment challenges” is so slim that it has, in effect, “evaporated.”

Winter v. Wolnitzek, 834 F.3d 681, 687 (6th Cir. 2016) (citing Susan B. Anthony List v. Driehaus,

573 U.S. 149, 165–67 (2014)). Unsurprisingly, then, the defendants’ ripeness arguments are

largely just an echo of their standing arguments. At the motion to dismiss stage, the court held

that the plaintiffs’ allegations were sufficient to meet the constitutional requirements of ripeness,

and that, insofar as it mattered, they also presented no prudential obstacles to adjudication. As

with standing, the evidentiary record confirms the court’s earlier analysis.

                         IV. PRELIMINARY INJUNCTION FACTORS

A. Likelihood of Success on the Merits

        1. Challenges to Tenn. Code Ann. §§ 2-2-142 & 2-2-143

        a. Governing Standard. 5 The plaintiffs argue that the Act’s registration and training

requirements, 10-day turn-in requirement, incomplete application penalties, and restrictions on

retention of voter information unconstitutionally burden their First Amendment rights of speech


5
 Because the issue of the governing standard of constitutional review is, like the issue of how one may
establish standing, essentially legal rather than factual, the court’s analysis is largely unchanged from its
Memorandum of September 9, 2019. (Docket No. 57 at 35–44.) Because the issue is so central to the
defendants’ Response, however, the court will reiterate much of that analysis here rather than merely
offering a summary.


                                                     18

    Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 18 of 45 PageID #: 644
and association. They argue next that, insofar as those requirements are not entirely

unconstitutional on the merits, they are unconstitutionally overbroad and vague. With regard to

the constitutionality of the challenged provisions under the First Amendment, the defendants

dispute the plaintiffs’ conclusions, focusing, in large part, on the standard by which the court

should consider the constitutionality of the Act’s requirements. Specifically, the plaintiffs argue

that the requirements should be subject to “exacting scrutiny,” whereas the defendants argue that

they should be subject only to some lesser standard of review.

       Although the defendants originally disputed whether the Act bears on First Amendment

interests at all, the parties now appear to agree that at least some First Amendment scrutiny is

warranted. As the plaintiffs point out, a voter registration drive involves more than just accepting

and delivering a form like a neutral courier. A voter registration drive, as described by the

plaintiffs and as the term is ordinarily used, involves “encourag[ing] . . . citizens to register to

vote.” Project Vote v. Blackwell, 455 F. Supp. 2d 694, 698 (N.D. Ohio 2006). “[E]ncouraging

others to register to vote” is “pure speech,” and, because that speech is political in nature, it is a

“core First Amendment activity.” League of Women Voters of Fla. v. Browning, 863 F. Supp. 2d

1155, 1158 (N.D. Fla. 2012). In addition to those interests, organizing between individuals in

support of registration efforts involves political association that is, itself, protected under the

First Amendment. See Hernandez v. Woodard, 714 F. Supp. 963, 973 (N.D. Ill. 1989) (“Where

groups, formal or informal, seek to advance their goals through the electoral process, regulations

preventing their members from [participating in voter registration] impair their ability effectively

to organize and make their voices heard.”) (citing R.I. Minority Caucus, Inc. v. Baronian, 590

F.2d 372, 376–77 (1st Cir. 1979)).




                                                 19

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 19 of 45 PageID #: 645
       Moreover, insofar as some discrete, purely logistical aspects of the voter registration

process might be “separable” from the expressive, informational, and associational aspects of a

voter registration drive, Voting for Am., Inc. v. Steen, 732 F.3d 382, 388 (5th Cir. 2013), that is

not the case here. The court is skeptical that the First Amendment would countenance “slic[ing]

and dic[ing] the activities involved in the plaintiffs’ voter registration drives” for constitutional

purposes, both because doing so would allow the government to burden the protected aspects of

the drive indirectly and because the “entire voter registration activity” implicates the “freedom of

the plaintiffs to associate with others for the advancement of common beliefs [that] is protected

by the First and Fourteenth Amendments.” Id. at 401, 404 (Davis, J., dissenting). Even if that

type of disjointed analysis were permissible, however, the plaintiffs have demonstrated how each

of the challenged provisions bears directly on the expressive and associational aspects of a voter

registration drive. The prior registration and training requirements are directed at the entirety of

the drive, not some discrete aspect; the training requirement, moreover, involves inserting the

government, as a speaker, into the associational activity between voter registration workers,

directly implicating core First Amendment interests; and, while the civil penalties for incomplete

applications are directed only at the paperwork aspect of a drive, the threat of penalties is likely

to have a chilling effect on the entirety of the drive, including its communicative aspects.

       The defendants have suggested that the Act does not regulate expressive, informational,

or associational aspects of voter registration, because the plaintiffs could still promote

registration without collecting the applications themselves. The General Assembly, however, did

not adopt the Act in a vacuum, and the plaintiffs now have provided a significant factual record

of the practices that the Act will reach. Voter registration drives, as a practice, existed well

before the Act, and, as the General Assembly was no doubt aware, those drives historically have



                                                 20

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 20 of 45 PageID #: 646
involved both encouraging and facilitating registration, including, at least in many cases, by

physically transporting applications. As a matter of simple behavioral fact that long pre-dates the

enactments at issue here, “the collection and submission of” the applications gathered in a voter

registration drive “is intertwined with speech and association.” League of Women Voters of Fla.

v. Cobb, 447 F. Supp. 2d 1314, 1334 (S.D. Fla. 2006). The defendants are not free to rewrite the

way democracy has been practiced for decades to create a hypothetical world where the Act is

arguably less constitutionally problematic. Because the Act regulates traditional voter

registration drives, which include central elements of expression and advocacy, it does not matter

that the Act would not apply to some other hypothetical activity that a group might concoct

specifically to evade the Act’s requirements. 6

        The mere fact that First Amendment interests are touched on by the Act, however, does

not necessarily render the Act unconstitutional or even dictate the standard by which the Act

must be reviewed. Courts have often struggled with the unique difficulties posed by First

Amendment challenges to election laws. In most areas of the law, the government can avoid the

First Amendment just by taking the Amendment’s advice and “mak[ing] no law” that bears on a

potentially protected subject matter. U.S. Const. amend. I. On the topic of elections, however,

making no law is not an option. “[T]here must be a substantial regulation of elections if they are

6
  The majority of a divided panel of the Fifth Circuit adopted an argument similar to the defendants’ in
Voting for America, Inc. v. Steen, which the court finds equally unpersuasive. That court concluded that a
challenged provision did not burden core First Amendment interests, because groups seeking to engage in
protected activity could avoid the provision “with an appropriate division of labor and organizational
forethought.” Steen, 732 F.3d at 390. But increasing the logistical and planning burdens of engaging in
protected speech is placing a burden on that speech. One might as well say that a fine imposed directly on
political speech is unproblematic because the fine can be rendered ineffective with an “appropriate”
amount of money. In any event, the defendants are cautioned that, if they succeed on this line of
argument, focusing on how easily the Act can be bypassed, they may well be obtaining a slightly more
forgiving standard of review only to ensure that the Act will not pass it. If, in fact, the Act can be
circumvented as easily and painlessly as the defendants suggest, then its requirements will be wholly
ineffective at combating the risks that the defendants have identified as justification for the Act’s
existence. A statute that burdens First Amendment activity without anything to show for it would be
unlikely to survive even a somewhat more relaxed standard of review.

                                                   21

    Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 21 of 45 PageID #: 647
to be fair and honest and if some sort of order, rather than chaos, is to accompany the democratic

processes.” Storer v. Brown, 415 U.S. 724, 730 (1974). For that reason, the Supreme Court has

held that First Amendment challenges to “election code provisions governing the voting process

itself” require a specialized inquiry beyond a simple “‘litmus-paper test’ that will separate valid

from invalid restrictions.” McIntyre v. Ohio Elections Comm’n, 514 U.S. 334, 345 (1995)

(citation omitted). In such cases, the Supreme Court has “pursued an analytical process” that

considers “the relative interests of the State and the injured voters, and . . . evaluate[s] the extent

to which the State’s interests necessitated the contested restrictions.” Id. (citation omitted).

       The “flexible balancing approach” endorsed by the Supreme Court—known generally as

the Anderson-Burdick framework, after Burdick v. Takushi, 504 U.S. 428 (1992), and Anderson

v. Celebrezze, 460 U.S. 780, 789 (1982)—can sometimes make it hard to fit First Amendment

challenges to election laws into ordinary constitutional categories. Ohio Democratic Party v.

Husted, 834 F.3d 620, 627 (6th Cir. 2016). When a state’s law “‘severely’ burdens the

fundamental right to vote, as with poll taxes, strict scrutiny is the appropriate standard.” Obama

for Am. v. Husted, 697 F.3d 423, 429 (6th Cir. 2012) (quoting Burdick, 504 U.S. at 534). In cases

with no actual burden on a right to vote or other constitutional right, “a straightforward rational

basis standard of review should be used.” Id. (citing McDonald v. Bd. of Election Comm’rs, 394

U.S. 802, 807–09 (1969); Biener v. Calio, 361 F.3d 206, 214–15 (3d Cir. 2004)). “The

distinction between ‘severe burdens’ and ‘lesser’ ones,” however, “is often murky,” Citizens in

Charge, Inc. v. Husted, 810 F.3d 437, 443 (6th Cir. 2016) (citation omitted), and “most cases fall

in between these two extremes.” Obama for Am., 697 F.3d at 429. Both sides of the Anderson-

Burdick balancing formula, moreover, can be fact-intensive, requiring the court to evaluate the

severity of actual burdens and the importance of actual state interests. In this particular case, the



                                                  22

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 22 of 45 PageID #: 648
plaintiffs have provided a great deal of evidence of the Act’s burdens, but the defendants, despite

having had an opportunity to do so, have produced little, if any, evidence of the importance of

the state’s interests.

        Before a court even begins the Anderson-Burdick balancing process, however, it must

conduct the threshold inquiry of whether that framework actually applies—which is not

necessarily a given merely because the challenged law pertains to elections. As the Sixth Circuit

has observed, the rationale for Anderson-Burdick assumes that “‘election cases rest at the

intersection of two competing interests,’ namely, an individual’s right to vote versus a state’s

prerogative to regulate the right to vote.” Mich. State A. Philip Randolph Inst. v. Johnson, 749 F.

App’x 342, 349 (6th Cir. 2018) (quoting Ohio Democratic Party, 834 F.3d at 626). Some

election-related laws, however, implicate more than those two sets of concerns. Specifically,

laws that govern the political process surrounding elections—and, in particular, election-related

speech and association—go beyond merely the intersection between voting rights and election

administration, veering instead into the area where “the First Amendment ‘has its fullest and

most urgent application.’” Eu v. San Francisco Cty. Democratic Cent. Comm., 489 U.S. 214, 223

(1989) (quoting Monitor Patriot Co. v. Roy, 401 U.S. 265, 272 (1971); citing Mills v. Alabama,

384 U.S. 214, 218 (1966)). The Supreme Court, accordingly, has applied “exacting scrutiny”—

not Anderson-Burdick—to cases governing election-related speech rather than “the mechanics of

the electoral process.” McIntyre, 514 U.S. at 345, 347 (reviewing law banning the circulation of

anonymous literature intended to affect an election).

        Left with this sometimes bewildering array of standards to choose from, it is probably

best to eschew the abstract in favor of the specific, look to the details of the challenged scheme,

and see how similar laws have been reviewed by the Supreme Court when challenged. Neither



                                                23

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 23 of 45 PageID #: 649
party has identified a Supreme Court case specifically addressing voter registration drive

restrictions of the type at issue here. The plaintiffs, however, liken their challenge to those raised

in two Supreme Court cases involving a different type of canvassing, the circulation of petitions

in support of ballot initiatives, Meyer v. Grant, 486 U.S. 414 (1988), and Buckley v. American

Constitutional Law Foundation, Inc., 525 U.S. 182 (1999). In Meyer, the Supreme Court struck

down Colorado’s prohibition on the use of paid petition circulators. 486 U.S. at 428. In Buckley,

the Supreme Court struck down three more Colorado restrictions on petition circulators: “(1) the

requirement that initiative-petition circulators be registered voters; (2) the requirement that they

wear an identification badge bearing the circulator’s name; and (3) the requirement that

proponents of an initiative report the names and addresses of all paid circulators and the amount

paid to each circulator.” 525 U.S. at 186, 205 (citations omitted).

       The Supreme Court concluded that the regulation of the petition-drive activities at issue

“involve[d] a limitation on political expression subject to exacting scrutiny.” Meyer, 486 U.S. at

420 (citing Buckley v. Valeo, 424 U.S. 1, 45 (1976)). The Court explicitly rejected, moreover, the

argument that the logistical aspects of collecting signatures could be easily separated from the

regulation of speech, because “[t]he circulation of an initiative petition of necessity involves both

the expression of a desire for political change and a discussion of the merits of the proposed

change.” Meyer, 486 U.S. at 421. “[T]he First Amendment,” the Court explained in Buckley,

“requires us to be vigilant” when such activities are regulated, “to guard against undue

hindrances to political conversations and the exchange of ideas.” 525 U.S. at 192 (citing Meyer,

486 U.S. at 421). The Court held that the prohibitions were unconstitutional because they

“significantly inhibit[ed] communication with voters about proposed political change, and [were]




                                                 24

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 24 of 45 PageID #: 650
not warranted by the state interests (administrative efficiency, fraud detection, informing voters)

alleged to justify those restrictions.” Id.

        The Supreme Court noted, in particular, the laws’ tendency to result in “speech

diminution” by “decreas[ing] the pool of potential circulators” of petitions. Id. at 194; see also

Bailey v. Callaghan, 715 F.3d 956, 969 (6th Cir. 2013) (referencing Meyer as an example of the

rule that the First Amendment applies “not only to laws that directly burden speech, but also to

those that diminish the amount of speech by making it more difficult or expensive to speak”)

(citing Citizens United v. Fed. Election Comm’n, 558 U.S. 310, 337 (2010); Meyer, 486 U.S. at

424)). Based on the factual record provided by the plaintiffs and largely unrefuted by the

defendants, the same speech diminution rationale can easily be applied to the Act’s restrictions

on voter registration drives, particularly those involving prior registration, mandatory attendance

at state-provided training, and the threat of criminal prosecution. If, therefore, Meyer and

Buckley apply, they pose a substantial obstacle to the constitutionality of the Act.

        The Sixth Circuit has recognized that the standard set forth in Meyer and Buckley is not

limited to the circulation of initiative petitions. See Toledo Area AFL-CIO Council v. Pizza, 154

F.3d 307, 316 (6th Cir. 1998) (applying Meyer-Buckley framework to law governing solicitation

of political contributions). The defendants nevertheless argue that those cases should not apply

here because voter registration drives, unlike petition drives for ballot initiatives, do not involve

“communication with voters about proposed political change” and, therefore, are entitled to less

First Amendment protection. Buckley, 525 U.S. at 192. But, as the court has already observed,

the creation of a new voter is a political change—no less so than the inauguration of a new

mayor or the swearing-in of a new Senator. The often-repeated premise that voting is the

“political right . . . preservative of all rights,” Yick Wo v. Hopkins, 118 U.S. 356, 370 (1886), is



                                                 25

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 25 of 45 PageID #: 651
not just a comforting aphorism; it reflects an acknowledgment that, in the American system of

governance, every decision to grant, preserve, or take away a right can be traced, in at least some

partial way, back to an election. If anything, a person’s decision to sign up to vote is more central

to shared political life than his decision to sign an initiative petition. A petition in support of a

ballot initiative might lead to a change in one law or a few laws, but a change in the composition

of the electorate can lead to the change of any law. 7

        A discussion of whether or not a person should register to vote, moreover, inherently

“implicates political thought and expression.” Buckley, 525 U.S. at 195. 8 Registering to vote is

not a politically neutral act, and neither is declining to. A person seeking to register voters may,

for example, find herself confronted with people who, based on their beliefs about politics and

government, consider voting to be unimportant, a waste of time, or even a pernicious tool for

lending legitimacy to an intolerable system. See id. (discussing reasons individuals have refused

to register to vote). Even if a prospective voter does not explicitly voice those concerns, the

operator of the registration drive will no doubt know that sincere reasons for refusing to vote

exist and pose an obstacle to his efforts. The way that the person encouraging registration

responds to or preempts the objections people have to voting will, therefore, often bear on


7
  It is also mistaken to suggest, as some have, that becoming a voter is not associational in the same way
as signing a petition, because petitions involve citizens acting in concert whereas the right to vote is
individual. See Steen, 732 F.3d at 390. For one thing, the right to sign a petition is also an individual right.
A petition, in practice, is little more than several individual votes in favor of a course of action in the
same stack of papers. Moreover, the conception of voting as purely individual misconceives of the nature
of the right. One becomes a voter in order to join the electorate and to vote in concert with like-minded
people. The individual right to make one’s own small voice heard is just one side of the right to vote; the
other side is the power to add that voice to others in order to actually effect change—in other words, to
act in political association.
8
  Although Buckley was not itself about restrictions on voter registration efforts, it did discuss voter
registration, because the challenged law limited circulating petitions to registered voters. That discussion
in Buckley leaves little doubt that the Supreme Court understood the political dimensions of voter
registration. 525 U.S. at 194–96.


                                                      26

    Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 26 of 45 PageID #: 652
fundamental questions at the heart of the political system. The court sees no reason that the First

Amendment would treat that discussion as somehow less deserving of protection than, for

example, a discussion about whether or not there should be a ballot initiative about property

taxes. The court, therefore, finds Meyer and Buckley to provide the appropriate standard for

considering the plaintiffs’ challenges.

       The Sixth Circuit’s recent opinion in Schmitt v. LaRose, ___ F.3d ___, 2019 WL 3713886

(6th Cir. Aug. 7, 2019), provides a useful framework for distinguishing between cases in which

Anderson-Burdick is appropriate and cases in which a more demanding First Amendment

framework should apply. In Schmitt, the plaintiffs challenged Ohio’s system of reviewing

whether to allow a ballot initiative to proceed—specifically, the state’s mechanism for rejecting

initiatives that propose “administrative” rather than “legislative” changes. Id. at *1. The plaintiffs

sought to proceed under ordinary First Amendment principles, but the Sixth Circuit rejected their

argument on the ground that the challenged laws “regulate the process by which initiative

legislation is put before the electorate, which has, at most, a second-order effect on protected

speech.” Id. at *4. The court further explained that, “although the Supreme Court has

acknowledged that a person or party may express beliefs or ideas through a ballot, it has also

stated that ‘[b]allots serve primarily to elect candidates, not as forums for political expression.’”

Id. at *5 (citing Timmons v. Twin Cities Area New Party, 520 U.S. 351, 363 (1997)).

Accordingly, Anderson-Burdick applied. Id.; see also Comm. to Impose Term Limits on Ohio

Supreme Court & to Preclude Special Legal Status for Members & Emps. of Ohio Gen.

Assembly v. Ohio Ballot Bd., 885 F.3d 443, 448 (6th Cir. 2018) (applying Anderson-Burdick in

challenge to Ohio’s rule limiting initiatives to a single topic). The Sixth Circuit, in Schmitt,

expressly declined to apply Meyer, because the “statute in Meyer targeted Coloradans’ ability to



                                                 27

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 27 of 45 PageID #: 653
advocate for initiative petitions, which amounted to regulation of political speech.” Id. at *9.

This case, unlike Schmitt—but like Meyer and Buckley—involves more than merely the

composition of a ballot or some other matter of election administration with a “second-order

effect on protected speech.” It involves the direct regulation of communication and political

association, among private parties, “advocat[ing] for” a particular change, namely the creation of

new registered voters and, by extension, a change in the composition of the electorate. Because

the regulation of First Amendment-protected activity is not some downstream or incidental effect

of the Act, Meyer and Buckley provide the appropriate standard. 9

        b. Registration, Training, and Information Retention Requirements. In order to

survive the “exacting scrutiny” of Meyer and Buckley, a law must, at least, be “substantially

related to important governmental interests.” Buckley, 525 U.S. at 202 (citing Valeo, 424 U.S. at

66–68). Even if important governmental interests are present, moreover, the court must consider

whether those interests can be served by “less problematic measures.” Buckley, 525 U.S. at 205.

As the Supreme Court has observed, election authorities “retain[] an arsenal of safeguards”

through which they can encourage compliance with election laws. Id. “Broad prophylactic rules

in the area of free expression are suspect. Precision of regulation must be the touchstone in an

area so closely touching our most precious freedoms.” NAACP v. Button, 371 U.S. 415, 438

(1963) (citations omitted).




9
  The distance between the Meyer-Buckley framework and the Anderson-Burdick framework is not,
however, necessarily far. The standard of review under Anderson-Burdick only recedes to its lowest level
when the challenged law is “minimally burdensome” on the exercise of constitutional rights. Ohio
Democratic Party, 834 F.3d at 627 (citation omitted). But if the burden is “severe,” then Anderson-
Burdick is just another road to strict scrutiny. Schmitt, 2019 WL 3713886, at *5. The plaintiffs have
produced evidence of significant burdens associated with the Act’s provisions, and the defendants have
conspicuously failed to provide much, if any, factual basis for disputing the plaintiffs’ claims in that
regard. Therefore, the plaintiffs have, at the very least, shown enough of a burden to justify a significantly
more demanding standard of review than the forgiving standard advocated for by the defendants.

                                                     28

    Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 28 of 45 PageID #: 654
        There can be little doubt that there is an important government interest in voter

registration being done properly, including when a third party is involved. The court, however,

sees very little basis for concluding that the provisions of the Act governing registration and

training are truly necessary or substantially related to that interest. For one thing, the defendants,

despite having been given the opportunity to provide factual support for the Act, have offered no

evidence of any reason to require the operator of a voter registration drive to report his activities

to the government. Moreover, even if one assumes that it is necessary for the operator of a voter

registration drive to provide certain information to the state, it is not clear why it is necessary that

the information be provided to the coordinator of elections before a drive, rather than afterwards,

either as part of handing in forms or as a timely separate submission. If anything, post-drive

disclosures would be more likely to be accurate. Requiring the information up front and in every

case simply requires more prior planning with little, if any, benefit.

        Particularly without justification is the requirement that the operators of voter registration

drives file sworn statements confirming that they will comply with the law. The law is the law

already; no one has to swear to follow it in order for it to apply. As a practical matter, this

requirement merely adds an additional regulatory hoop for the operator of a voter registration

drive to jump through, while also perhaps sending her an intimidating message about the

possibility of prosecution. There is simply no persuasive reason to force someone to swear that

she will abide by laws that already bind her regardless.

        The defendants have also wholly failed to provide evidence justifying the policy of

imposing the Act’s reporting and training requirements only on people or organizations who

have received some remuneration for their voter registration work. See Project Vote, 455 F.

Supp. 2d at 705 (discussing impropriety of “assum[ing] that compensated workers would be



                                                  29

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 29 of 45 PageID #: 655
more ill equipped to assist in filling out the registration forms than uncompensated voter

registration workers” (internal quotation marks omitted)). The imposition of the registration

requirement on some voter registration drives and not others, based on whether work is paid,

moreover, will inevitably lead to harsher treatment for some types of organizations—

specifically, those less capable, perhaps due to the nature of their mission, of summoning

numerous enthusiastic volunteers. See Riley v. Nat’l Fed’n of the Blind of N.C., Inc., 487 U.S.

781, 799 (1988) (noting that a requirement targeting only paid personnel making charitable

solicitations “necessarily discriminates against small or unpopular” causes and groups that must

rely on paid assistance). The Act’s two-tiered system both lacks justification in its own right and

undermines any claim that its provisions are truly necessary.

       It is similarly unclear what basis there is for imposing a bar on retaining a person’s

information, over and above any existing state and federal privacy protections, that applies only

to voter registration advocates. The plaintiffs, moreover, have persuasively demonstrated how

the consent requirement would directly hamper their political speech and organizing. The

plaintiffs’ voter registration activities, they have explained, are just one component of a broader

strategy of advocacy that includes following up with registrants to facilitate their voting and

communicate with them about issues. If the plaintiffs cannot retain the applicants’ information,

that will be impossible. The defendants, moreover, have not provided any basis for concluding

that the plaintiff organizations could, as a practical matter, demonstrate compliance with the

Act’s information retention consent requirements without its substantially burdening their

registration activities. Although the privacy of individual information is important, the

defendants have demonstrated no reason that there needs to be specific requirements that apply




                                                30

  Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 30 of 45 PageID #: 656
to the retention of information from voter registration drives but to none of the other myriad

situations in which individuals hand over their information to third parties.

       Finally, the current record reflects no sufficient basis for requiring that registration

workers and volunteers receive mandatory government training prior to assisting with voter

registration. The State of Tennessee does not require individuals to undergo any kind of

government training before filling out their own voter registration forms. Undoubtedly, some

such people fill out their forms incorrectly, just as some people who fill out their forms as part of

a voter registration drive do. The state’s interest in avoiding errors might, therefore, justify a

simpler application form or a public education program, but there is substantial reason to doubt

that it can justify the unusually aggressive insertion of government speech into private political

association that the Act contemplates. Requiring a group seeking to effect political change to be

a captive audience for a government-sponsored message before it can engage in constitutionally

protected activity would plausibly have a chilling effect, particularly given that the Coordinator

of Elections appears to possess broad discretion over the content of the training, including the

severity of any warnings about workers’ legal exposure as well as simply the amount of time that

the training will take. Moreover, as the defendants concede in their briefing, the record shows

that the plaintiffs “already train their volunteers.” (Docket No. 59 at 9.) The only thing

accomplished by the Act, then, would be to insert the voice of the General Assembly-appointed

Secretary of State’s chosen Coordinator of Elections into that process. The court, accordingly,

concludes that the plaintiffs have demonstrated a strong likelihood of success with regard to their

argument that the registration and training requirements for voter registration drives are

substantively unconstitutional.




                                                 31

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 31 of 45 PageID #: 657
        Moreover, the plaintiffs have also demonstrated a strong likelihood of success on the

merits of their claims that these provisions are unconstitutional for a second reason—namely, the

vagueness of the scope and the nature of their requirements. Admittedly, some degree of

ambiguity is unavoidable in statutory drafting, and even a well-drafted statute may be

“susceptible to clever hypotheticals testing its reach.” Platt v. Bd. of Comm’rs on Grievances &

Discipline of Ohio Supreme Court, 894 F.3d 235, 251 (6th Cir. 2018). However, basic principles

of due process set an outer limit for how vague a statutory command can be if a person is going

to be expected to comply with that command. Specifically, a statute is unconstitutionally vague

under the Fourteenth Amendment if its terms “(1) ‘fail to provide people of ordinary intelligence

a reasonable opportunity to understand what conduct it prohibits’ or (2) ‘authorize or even

encourage arbitrary and discriminatory enforcement.’” Id. at 246 (6th Cir. 2018) (quoting Hill v.

Colorado, 530 U.S. 703, 732 (2000)). “‘[A] more stringent vagueness test should apply’ to laws

abridging the freedom of speech . . . .” Id. (quoting Vill. of Hoffman Estates v. Flipside, Hoffman

Estates, Inc., 455 U.S. 489, 499 (1982)). That standard can be “relaxed somewhat” if the law at

issue “imposes civil rather than criminal penalties and includes an implicit scienter requirement.”

Id. (citing Hoffman Estates, 455 U.S. at 499). These provisions of the Act, however, impose

criminal liability.

        Particularly troubling is the Act’s failure to define what counts as a single “voter

registration drive” for the purposes of (1) calculating whether a drive is attempting to register

more than 100 voters and (2) knowing when a person or organization must file a fresh pre-

registration with the Coordinator of Elections. For example, a group might plan a series of events

at different churches, temples, or mosques once a week, for a month. In this hypothetical, the

organization would know, from experience, that no single effort at a single institution would be



                                                32

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 32 of 45 PageID #: 658
expected to yield more than 30 registration applications. Is that a single voter registration drive

covered by the Act or four voter registration drives that are not? What if, instead, a single

organization holds multiple events in multiple locations and operated by entirely different teams,

as part of a “Voter Registration Day,” with none individually expected to exceed more than a

few dozen registrations? What if the same Voter Registration Day effort were held, but rather

than having been done by different teams within a single organization, it is operated by multiple

organizations in loose coordination with each other? Or, finally, what if a single organization is

just involved in voter registration efforts, every day or almost every day, on a rolling basis and in

numerous locations? How often does that organization need to register with the Coordinator of

Elections? These are not outlandish hypotheticals—they are easily foreseeable possibilities that

go to the heart of how the Act would work. Unless an organization has some fair warning of how

to know when the Act will apply, the Act cannot constitutionally restrict the organization’s First

Amendment activities.

       Also troublingly vague is the scope of the scheme’s exception for individuals and some

organizations that are not “paid to collect voter registration applications.” Tenn. Code Ann. § 2-

2-142(g). Specifically, it is not clear what types of arrangement qualify as ‘payment’ under the

Act. Being “paid to collect voter registration applications” presumably covers individuals paid an

hourly wage to collect registrations and organizations that have entered into contracts

specifically to collect registrations for an identified price. It is unclear, however, if the language

applies to, for example, individuals receiving a stipend or organizations that receive grants to

engage in voter registration activities generally. See Project Vote, 455 F. Supp. 2d at 707 (noting

difficulty of determining which voter registration workers are “compensated”). Without some

clarity about the type of payment contemplated by the Act, it is impossible for a person or



                                                 33

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 33 of 45 PageID #: 659
organization to know if it is covered. Accordingly, the plaintiffs have shown a high likelihood

that their claims will succeed on the merits, both with regard to the provisions’ substantive

commands and the vagueness of their scope and requirements.

       c. Penalties Based on Incomplete Applications. As restrictions on voter registration

drive activity, the civil penalties based on the filing of 100 or more incomplete registration

applications are subject to the same Meyer-Buckley standard as the registration and training

provisions. Admittedly, this aspect of the Act is, at least by comparison to the other

requirements, more focused on the logistical aspects of voter registration drives—that is to say,

the actual filling out and turning in of forms. Nevertheless, as the court has already discussed,

“the collection and submission of applications is inextricably intertwined with” the expressive

and advocatory aspects of the drive, and it is impossible to burden one without, in effect,

burdening the other. Cobb, 447 F. Supp. 2d at 1332.

       The plaintiffs point out several aspects of the civil penalties regime related to incomplete

applications that allegedly impose burdens far out of proportion to their supposed benefits. Most

obviously, the combination of the 10-day hand-in requirement and the penalties for incomplete

forms put the plaintiffs in an unnecessary double bind. There are good reasons to require

operators of voter registration drives to turn in all of their collected applications and to do so in a

timely manner. But by imposing the 10-day requirement, the Act is also, by necessity, requiring

people and organizations to turn in applications that they know to be incomplete. The Act,

therefore, punishes a person or organization for doing too much of something that it requires

them to do.

       The defendants would presumably respond that the Act only punishes those whose voter

registration efforts result in an unacceptable rate of error. That, though, is not how the Act is



                                                  34

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 34 of 45 PageID #: 660
structured. The Act does not punish anyone for the rate of incomplete forms he turns in. If an

organization turns in 10,000 applications, 1% of which are incomplete, it is penalized, even if it

made all reasonable efforts to perform its voter registration drive competently. If an organization

turns in a stack of 150 applications, 66% of which are incomplete, that organization is in the

clear. The result is that the Act holds an organization to an increasingly more onerous standard

the more effective it is at recruiting new voters.

       That penalty for effectiveness is only exacerbated by the Act’s provisions imposing an

additional penalty “in each county where the violation occurred.” Tenn. Code Ann. § 2-2-

143(c)(4)(A), accord Tenn. Code Ann. § 2-2-143(c)(4)(B). For example, if an organization

operates across 20 counties and turns in 5 incomplete forms from each county, for a total of 100

incomplete forms, it can be fined up to $2,000. If an organization operates in one county and

turns in 500 incomplete forms, it can only be fined $150. Just as the decision to punish by

volume rather than rate punishes an organization for identifying more prospective voters, the

county-by-county fine requirement punishes an organization for having a wider geographic

scope. The unluckiest organization of all is one that seeks to register a large number of

Tennesseans across a large number of counties. In other words, the Act falls hardest not on bad

actors but on organizations with the most ambitious and inclusive voter registration efforts. The

state’s interest in drives being performed competently does not justify such a regime, under

exacting scrutiny or some lesser balancing analysis. The court has little trouble, therefore,

concluding that the plaintiffs are likely to succeed on this aspect of their claim.

       d. Disclaimer Requirements. The Act’s required disclaimers implicate not only the

principles discussed in Meyer and Buckley but also the well-developed caselaw regarding

government-compelled speech. “The First Amendment guarantees ‘freedom of speech,’ a term



                                                     35

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 35 of 45 PageID #: 661
necessarily comprising the decision of both what to say and what not to say.” Riley, 487 U.S. at

796–97. A law that “compel[s] individuals to speak a particular message” by following a

“government-drafted script” that “alte[rs] the content of [their] speech” is a “content-based

regulation of speech” and, therefore, “presumptively unconstitutional.” 10 Nat’l Inst. of Family &

Life Advocates v. Becerra, 138 S. Ct. 2361, 2371 (2018) (quoting Riley, 487 U.S. at 795; Reed v.

Town of Gilbert, Ariz., 135 S. Ct. 2218, 2226 (2015)). Such laws “may be justified only if the

government proves that they are narrowly tailored to serve compelling state interests.” Id. (citing

Reed, 135 S. Ct. at 2226). The defendants, as the parties defending a policy of government-

compelled speech, “ha[ve] the burden to prove that the [challenged requirement] is neither

unjustified nor unduly burdensome.” Becerra, 138 S. Ct. at 2377 (citing Ibanez, 512 U.S. at

146).

        The defendants suggest that all of these bedrock First Amendment principles fall by the

wayside, as long as the disclaimer that a person is being required to utter is “factual.” The

Supreme Court, however, has flatly rejected the argument that merely because a statement is

technically true then the government can force a person to make that statement without offending

the First Amendment. See id. at 2372. Quite to the contrary, the Supreme Court has recognized

that, if left unchecked, the government can use mandatory disclaimers—even truthful ones—as a

means of “manipulat[ing] the content of . . . discourse” on issues of profound importance. Id. at
10
   The defendants suggest, instead, that the disclaimer requirement is subject only to rational basis review,
based on Discount Tobacco City & Lottery, Inc. v. United States, 674 F.3d 509 (6th Cir. 2012), a case
involving, among other things, required warnings on tobacco packaging. The Sixth Circuit in Discount
Tobacco City, however, expressly premised its reasoning on the courts’ “longstanding approach” of
treating commercial speech as entitled to lesser protection than other forms of political speech. Id. at 522.
“Commercial speech” has been “narrowly defined by the Supreme Court” as “‘expression related solely
to the economic interests of the speaker and its audience or ‘speech proposing a commercial transaction.’”
Karhani v. Meijer, 270 F. Supp. 2d 926, 931 (E.D. Mich. 2003) (quoting Cent. Hudson Gas & Elec. Corp.
v. Pub. Serv. Comm’n of N.Y., 447 U.S. 557, 561 (1980); citing Va. State Bd. of Pharmacy v. Va. Citizens
Consumer Council, Inc., 425 U.S. 748, 762 (1976) (intermediary citations omitted)). Discount Tobacco
City is, therefore, inapposite.


                                                     36

     Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 36 of 45 PageID #: 662
2374 (citation omitted). That risk is especially acute where, as here, the disclaimer is designed to

highlight the speaker’s lack of authority. As the court has already held, the speech touched on by

the Act falls within the highest level of constitutional protection. Interfering with that speech is

constitutionally suspect, whatever tool is used. The court, accordingly, will not ignore the well-

established constitutional standards for evaluating compelled speech.

       The plaintiffs have demonstrated a likelihood of success in establishing that the

disclaimer requirements serve no compelling state interests. The defendants offer hypothetical

situations in which individuals might be harmed by their confusion regarding whether a voter

registration entity is actually government-affiliated or not. They provide, however, no evidence

that such situations are likely or common. In order for a compelled disclosure to pass

constitutional muster, it must “remedy a harm that is,” at the very least, “‘potentially real[,] not

purely hypothetical.’” Id. at 2377 (quoting Ibanez v. Fla. Dep’t of Bus. & Prof’l Regulation, 512

U.S. 136, 146 (1994)).

       Even if the defendants could establish that the disclaimers required by the Act are

directed at a real problem, there is reason to doubt that the Act is appropriately tailored to that

problem. The government’s “simple interest in providing voters with additional relevant

information does not justify a state requirement that a [speaker] make statements or disclosures

she would otherwise omit.” McIntyre, 514 U.S. at 348. If the state is concerned that the public is

insufficiently informed or misinformed, then “more benign and narrowly tailored options are

available” than compelled speech. Riley, 487 U.S. at 800. For example, the state could

“communicate the desired information to the public” itself through a public awareness campaign.

Id. If the Tennessee Department of State is concerned that the public is confused about its role in

voter registration, it is free to communicate with the public of its own accord.



                                                 37

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 37 of 45 PageID #: 663
       Indeed, even if one accepts that the government’s purpose is compelling and that

disclaimers are an appropriate tool for furthering that purpose, the plaintiffs have raised

persuasive objections to the particular disclaimer requirements in the Act. For example, the

disclaimer requirement reaches all “public communication regarding voter registration status

made by a political committee or organization,” not merely any particular subset of

communications that is actually likely to result in public confusion. Tenn. Code Ann. § 2-19-

145(a). This requirement, as written, would reach any number of wholly innocuous

communications, including communications that, based on their content, present no threat of

confusion whatsoever with regard to whether the government is involved.

       The defendants dismiss plaintiffs’ concerns that the disclaimers will cause a stigmatic

injury by making voter registration activities seem somehow illegitimate. To that end, the

defendants imagine a particularly unusual hypothetical member of the public—one too

unsophisticated to discern that, for example, the MCLC is not a division of the Secretary of

State, yet somehow sophisticated enough not to misinterpret the Act’s required disclaimers. The

content of the required disclaimers, however, is confusing, at best, and quite likely to be

misleading. A group must explain that its communication is “not made in conjunction with or

authorized by the secretary of state.” But the Secretary of State has no power to “authorize[]” or

not “authorize[]” anyone to engage in voter registration-related communications. The plaintiffs’

communications, moreover, are authorized—authorized by the First Amendment and authorized

because, consistently with the First Amendment, nothing in Tennessee law forbids them.

Moreover, it is simply untrue, as a practical matter, that voter registration-related

communications, particularly ones made in the context of voter registration drives, are not made

“in conjunction with” the proper government authorities. The government dictated the content of



                                               38

  Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 38 of 45 PageID #: 664
the forms prospective voters fill out. The forms are sent to the county election commission,

which then has a legal duty to process them. A voter registration drive is performed “in

conjunction with” the proper authorities in every meaningful sense. Indeed, the authorities have

no choice in the matter.

       In addition to those problems, the requirement that the disclaimers be “conspicuous and

prominently placed” in a way that is not “difficult to read or hear” and cannot “be easily

overlooked,” Tenn. Code Ann. § 2-19-145(d), read literally, sets an almost impossible standard.

If, for example, an organization operates a website that includes multiple pages, it is unclear

what form of disclaimer would be sufficiently prominent. For example, a disclaimer only on the

site’s main page would be missed by anyone who came to the site by a link to another page.

Another option would be to place the disclaimer at the bottom of every page, like a copyright

notice. That placement, however, could be “easily overlooked.” The organization, lacking a good

option, might force every user that accesses its site to acknowledge the disclaimer before going

further. Even then, though, it is probably true, as a factual matter, that a user could “easily

overlook” the disclaimer, just as users routinely skip quickly past terms of service and end user

license agreements to get to the information and features they want in other websites and

applications. People, particularly those living in a media environment that inundates them with

information, are very good at overlooking things. Requiring a disclaimer that is incapable of

being “easily overlooked” is, in practice, requiring a disclaimer so intrusive that it would threaten

to swallow the communication that it is attempting to clarify.

       Finally, even if the disclaimer requirements were otherwise constitutional, they, like the

Act’s registration requirements, are likely unconstitutionally vague. First, the phrase “a public

communication regarding voter registration status,” Tenn. Code Ann. § 2-2-145(a)(1), is



                                                 39

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 39 of 45 PageID #: 665
ambiguous in at least two major ways. The Act explains that “‘public communication’ includes

communications made using newspapers or magazines, mass mailings, phone bank or text

messages, electronic mail systems, or websites,” Tenn. Code Ann. § 2-2-145(a)(2), but it is

impossible to discern what other communications it includes. A conversation between a

volunteer and a potential voter in the park, for example, is simply the equivalent of a “phone

bank . . . message,” without the phone, so there is no assurance, in the statute, that the

conversation would be exempt from the disclaimer requirement. The Act also gives no guidance

with regard to whether this provision applies to billboards or other signage—an application that

might be particularly challenging, given that signage is generally intended to be legible from a

distance, and it would be difficult to integrate a disclaimer that would be similarly legible. Even

when one resolves the question of medium, the phrase “regarding voter registration status” could

be read to reach any conversation that even touches on the issue of individual voting and

eligibility. A person or organization operating under the Act would live with the possibility of

arbitrary enforcement with regard to virtually any communication in which voter registration

came up, even passingly.

       Second, as the court has already discussed, the requirement that a disclaimer must be

“clear and conspicuous and prominently placed,” Tenn. Code Ann. § 2-2-145(d), does not give a

person or organization sufficient warning of what one must do in order to comply with the Act.

Read literally, the requirement that the disclaimer be given a “placement” that cannot “be easily

overlooked,” id., is, at least in some instances, almost impossibly demanding. The Act, though,

gives no additional guidance about how the requirement should be read. The plaintiffs, therefore,

have demonstrated a strong likelihood of success that their constitutional challenge to Tenn.

Code Ann. § 2-2-145 is likely to succeed.



                                                40

  Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 40 of 45 PageID #: 666
         e. Cumulative Burdens of the Act/Viability Under Anderson-Burdick. Finally, in

addition to the substantive unconstitutionality of the aforementioned individual provisions, the

plaintiffs have demonstrated that these aspects of the Act, functioning together, create a

cumulative burden that is even more difficult to justify as a constitutional matter. Each of the

plaintiffs appears to be a substantial organization with an established history of encouraging

voter registration. When it comes to personnel and budgets, though, their vulnerability is

striking. The organizations, particularly those based in Tennessee, operate on limited budgets

with few, if any, full-time staffers. The Act would attack their limited resources from all sides.

The disclaimer and registration requirements produce compliance costs for what might be an

already cash-strapped organization. The training and penalty provisions hamper the

organization’s ability to recruit qualified volunteers and registration workers. Then, when the

voter registration drive is done, the organization’s already-depleted resources may be drained by

fines.

         Those burdens, moreover, are avoidable. If Tennessee is concerned that voter registration

drives are being done incompetently, it can engage in public education efforts without relying on

a complex and punitive regulatory scheme. If it is concerned that the drives are being done

fraudulently—for example, by a person or organization collecting forms and never turning them

in—it can punish the fraud rather than subjecting everyone else to an intrusive prophylactic

scheme that true bad actors would likely evade regardless. See Citizens for Tax Reform v. Deters,

518 F.3d 375, 388 (6th Cir. 2008) (noting that Ohio law governing petition circulators was

unnecessary, in part due to preexisting prohibition on election fraud). If the state is concerned

about incomplete voter registration forms, it can devote resources to identifying them quickly

and working with voters to complete them. If it is concerned that processing a large number of



                                                41

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 41 of 45 PageID #: 667
registration applications is too costly and difficult, it can make registration simpler. And if, after

that, Tennessee is still concerned about the cost, then, as understandable as that concern may be,

bearing the cost is what the Constitution requires.

       Moreover, in light of the Act’s burdens and the availability of alternative methods for

pursuing its objectives, the court concludes not only that the plaintiffs are likely to succeed on

their claims under Meyer, Buckley, and the caselaw governing compelled speech, but also that

they would be likely to succeed under the Anderson-Burdick balancing framework. The

Anderson-Burdick balancing process requires the court to “identify and evaluate the precise

interests put forward by the State as justifications for the burden imposed.” Anderson, 460 U.S.

at 789. In so doing, the court must “not only determine the legitimacy and strength of each of

those interests,” but “also . . . consider the extent to which those interests make it necessary to

burden the plaintiff’s rights.” Miller v. Lorain Cty. Bd. of Elections, 141 F.3d 252, 256 (6th Cir.

1998) (quoting Anderson, 460 U.S. at 789). The Act creates an onerous and intrusive regulatory

structure for problems that, insofar as they are not wholly speculative, can be addressed with

simpler, less burdensome tools. Even accounting for the possibility that the plaintiffs might not

prevail with regard to the applicability of Meyer and Buckley, then, this factor favors granting a

preliminary injunction.

B. Irreparable Injury

       “The loss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373–74 (1976)

(citing N.Y. Times Co. v. United States, 403 U.S. 713 (1971)). Even if one rejects that categorical

approach, the plaintiffs have shown that, if the Act goes into effect, they will almost certainly

suffer significant, irreparable injuries. The unrefuted evidence before the court suggests that the



                                                 42

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 42 of 45 PageID #: 668
defendants will be required or are likely to curtail their voter registration efforts in response to

the Act. They may even be forced to discontinue some activities altogether. The nature of

elections, moreover, is that time is of the essence. It is not uncommon in Tennessee for the voters

of a community to have multiple opportunities to go to the polls in a year, between primaries,

general elections, runoffs, and special elections. But when each chance is gone, it is gone. The

court, moreover, is aware that multiple election days are approaching, including a presidential

primary in March and a general election encompassing numerous offices later in that year.

Forcing the plaintiffs to wait while a case winds its way through litigation would mean taking

away chances to participate in democracy that will never come back. The likelihood of

irreparable injury to the plaintiffs, therefore, strongly supports granting their requested

preliminary injunction.

C. Substantial Harm to Others/Public Interest

       Generally speaking, “the public interest is served by preventing the violation of

constitutional rights.” Chabad of S. Ohio & Congregation Lubavitch v. City of Cincinnati, 363

F.3d 427, 436 (6th Cir. 2004). Nevertheless, enjoining officials from pursuing their chosen

policies is not without costs. The court, therefore, must consider whether any harm to the public

interest associated with enjoining the Act would outweigh the benefit.

       The Defendants first argue that enjoining the challenged provisions of the Act will “strip

Tennessee citizens of the benefits the Act will provide.” (Docket No. 59 at 27.) That argument,

however, fails for much the same reason that the defendants’ substantive defense of the Act fails.

There is simply no basis in the record for concluding that the Act will provide much benefit to

Tennesseans, and even less reason to think that any benefit will come close to outweighing the




                                                43

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 43 of 45 PageID #: 669
harms to Tennesseans (and non-Tennesseans) who merely wish to exercise their core

constitutional rights of participating in the political process by encouraging voter registration.

        The Defendants next argue that an injunction will “represent[] a line in the sand” that, by

preventing the Act from going into effect, will also rob the public and the court of the

opportunity to see whether the harms that the plaintiffs have predicted will, in fact, come to pass.

(Id.) In other words, the defendants argue that, even if the court concludes that the challenged

provisions are likely unconstitutional, it should allow those provisions to go into effect in order

to see just how badly the plaintiffs’ and others’ First Amendment rights will end up being

burdened. This aspect of the defendants’ argument is conspicuously unsupported by citation to

caselaw. The court declines to find that the public interest would be served by treating people

and organizations that wish to participate in democracy as test subjects for empirical inquiry, at

least in this case.

         Finally, the defendants argue that an injunction would be “an affront to [Tennessee’s]

sovereignty.” (Docket No. 59 at 26.) But insofar as complying with the Constitution impairs

Tennessee’s sovereignty, the defendants’ complaint is with their forebearers, not the court.

“When a State enters the Union, it surrenders certain sovereign prerogatives.” Massachusetts v.

E.P.A., 549 U.S. 497, 519 (2007). It does so voluntarily, as Tennessee has done twice—first in

1796, when the state, in the words of its first Constitution, asserted its “right of admission into

the General Government as a member State thereof, consistent with the Constitution of the

United States,” Tenn. Const. of 1796, prmbl., and then again in 1866, when it sought and

received full recognition as a readmitted state after the Civil War, see 39 Res. No. 73, July 24,

1866, 14 Stat. 364. The U.S. Constitution to which Tennessee twice assented specifically

provided, as it still provides, that it would be the “supreme Law of the Land,” the “Laws of any



                                                 44

   Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 44 of 45 PageID #: 670
State to the Contrary notwithstanding.” U.S. Const. art. VI, cl. 2. Tennessee, in its sovereignty,

chose to bind itself to the Constitution. It is no affront to that sovereignty to hold the state to its

commitments. The latter two preliminary injunction factors, therefore, favor granting a

preliminary injunction.

D. Balancing of Factors/Scope

        Each of the preliminary injunction factors favors granting the plaintiffs relief. The court,

therefore, will order the defendants to refrain from implementing or enforcing Tenn. Code Ann.

§ 2-2-142(a)–(b) or (e)–(g), Tenn. Code Ann. § 2-2-143, and Tenn. Code Ann. § 2-19-145. 11 The

court will also note, however, that its injunction will not restrict any official’s actions to enforce

any of the state’s other election laws, including Tenn. Code Ann. § 2-19-103’s prohibition on

knowing interference in the election code rights of individuals. Accordingly, if a person, for

example, performs ostensible voter registration activities in a way calculated to disenfranchise

others by not transmitting their application forms, then that person can be prosecuted to the full

extent of the law without running afoul of the court’s preliminary injunction.

                                         IV. CONCLUSION

        For the foregoing reasons, the plaintiffs’ Motion for Preliminary Injunction (Docket No.

54) will be granted.

        An appropriate order will enter.

        ENTER this 12th day of September 2019.

                                                                 ______________________________
                                                                 ALETA A. TRAUGER
                                                                 United States District Judge



11
  The court will, therefore, be enjoining any formal rulemaking under the Act. The court’s injunction will
not, of course, enjoin any preliminary drafting of rules, to be made subject to the rulemaking process if
the injunction is eventually lifted.

                                                   45

     Case 3:19-cv-00385 Document 60 Filed 09/12/19 Page 45 of 45 PageID #: 671
